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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA

SOCIAL POSITIONING INPUT           §
SYSTEMS, LLC,                      §
                                   §
      Plaintiff,                   §         Case No:
                                   §
vs.                                §         PATENT CASE
                                   §
CLICK LABS INC.,                   §         JURY TRIAL DEMANDED
                                   §
      Defendant.                   §
__________________________________ §

                                 COMPLAINT

      Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” or “SPIS”) files

this Complaint against Click Labs Inc., (“Defendant” or “Click Labs”) for

infringement of United States Patent No. 9,261,365 (hereinafter “the ‘365

Patent”).

                        PARTIES AND JURISDICTION

      1.     This is an action for patent infringement under Title 35 of the United

States Code. Plaintiff is seeking injunctive relief as well as damages.

      2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331

(Federal Question) and 1338(a) (Patents) because this is a civil action for patent

infringement arising under the United States patent statutes.

      3.     Plaintiff is a Wyoming limited liability company with an address of

1 East Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.



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      4.     On information and belief, Defendant is a Delaware corporation

with its principal office located at 4830 West Kennedy Blvd, Suite 600, Tampa

Florida 33609. On information and belief, Defendant may be served through its

agent United States Corporation Agents, Inc., 221 N Broad St, Suite 3A,

Middletown, DE 19709.

      5.     On information and belief, this Court has personal jurisdiction over

Defendant because Defendant has committed, and continues to commit, acts of

infringement in this District, has conducted business in this District, and/or has

engaged in continuous and systematic activities in this District.

      6.     On information and belief, Defendant’s instrumentalities that are

alleged herein to infringe were and continue to be used, imported, offered for

sale, and/or sold in this District.

                                      VENUE

      7.     On information and belief, venue is proper in this District under 28

U.S.C. § 1400(b) because Defendant is deemed to reside in this District.

Alternatively, acts of infringement are occurring in this District and Defendant

has a regular and established place of business in this District.

                          COUNT I
      (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)

      8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.

      9.     This cause of action arises under the patent laws of the United States


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and, in particular, under 35 U.S.C. §§ 271, et seq.

      10.    Plaintiff is the owner by assignment of the ‘365 Patent with sole

rights to enforce the ‘365 Patent and sue infringers.

      11.    A copy of the ‘365 Patent, titled “Device, System and Method for

Remotely Entering, Storing and Sharing Addresses for a Positional Information

Device,” is attached hereto as Exhibit A.

      12.    The ‘365 Patent is valid, enforceable, and was duly issued in full

compliance with Title 35 of the United States Code.

      13.    Upon information and belief, Defendant has infringed and

continues to infringe one or more claims, including at least Claim 1, of the ‘365

Patent by making, using (at least by having its employees, or someone under

Defendant's control, test the accused Product), importing, selling, and/or

offering for sale associated hardware and software for asset locating services

(e.g., Click Labs and/or JungleWorks asset tracking platform, and any associated

hardware, apps, or other software) (“Product”) covered by at least Claim 1 of the

‘365 Patent. Defendant has infringed and continues to infringe the ‘365 patent

either directly or through acts of contributory infringement or inducement in

violation of 35 U.S.C. § 271.

      14.    The Product provides an asset tracking system for real-time GPS

tracking of assets. A user can receive location information on a positional



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information device (e.g., mobile device or computer). Certain aspects of this

element are illustrated in the screenshot(s) below and/or in those provided in

connection with other allegations herein.




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      15.    The Product software sends a request from a first (requesting)

positional information device (e.g., mobile device or desktop with software

installed) to a server. The request is for the real-time location (e.g., stored

address) of an asset, and includes a first identifier of the requesting positional

information device (e.g., user ID and password for the Product software used in

the particular enterprise). The request is sent to the Product server for

transmitting the asset location. The server receives the at least one address from

a second (sending) positional information device at the asset (e.g., employee

mobile phone). Certain aspects of this element are illustrated in the screenshot(s)

below and/or in those provided in connection with other allegations herein.



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      16.    The at least one address is received from the server at the requesting

positional information device. For example, the Product’s server transmits the

position of an asset (at least one address) to the requesting positional information

device. Certain aspects of this element are illustrated in the screenshot(s) below

and/or in those provided in connection with other allegations herein.




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      17.    A second identifier for the second (sending) positional information

device is determined based on the first identifier and the server retrieves the at

least one address stored in the at least one sending positional information device.

The Product application installed on the requesting positional information

device requests (from the server) the asset’s GPS location (i.e., at least one stored

address stored). As shown above, before activating the tracker (i.e., the sending

positional information device), a unique tracking device’s ID number or

credentials (i.e., second identifier) needs to be added to the user’s account

identified by the user login ID and password (i.e., the first identifier). Hence, the

tracker device’s ID number or asset credentials (i.e., second identifier) is mapped

to the user’s login ID (i.e., the first identifier) for tracking the real-time location

(i.e., at least one stored address) of the asset. Certain aspects of this element are

illustrated in the screenshot(s) below and/or in those provided in connection



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with other allegations herein.




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      18.   Defendant’s actions complained of herein will continue unless

Defendant is enjoined by this court.

      19.   Defendant’s actions complained of herein are causing irreparable

harm and monetary damage to Plaintiff and will continue to do so unless and

until Defendant is enjoined and restrained by this Court.

      20.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                  JURY DEMAND

      21.   Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

 respectfully requests a trial by jury on all issues so triable.




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                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiff asks the Court to:

      (a)   Enter judgment for Plaintiff on this Complaint on all causes of action

asserted herein;

      (b)   Enter an Order enjoining Defendant, its agents, officers, servants,

employees, attorneys, and all persons in active concert or participation with

Defendant who receive notice of the order from further infringement of United

States Patent No. 9,261,365 (or, in the alternative, awarding Plaintiff a running

royalty from the time of judgment going forward);

      (c)   Award Plaintiff damages resulting from Defendant’s infringement

in accordance with 35 U.S.C. § 284;

      (d)   Award Plaintiff pre-judgment and post-judgment interest and costs;

and

      (e)   Award Plaintiff such further relief to which the Court finds Plaintiff

entitled under law or equity.




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Dated: January 4, 2022.         Respectfully submitted,


                                   /s/Barbra A. Stern
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